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   5
     Attorneys for Plaintiff MARLENE Y. BAILEY
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  10
                                     UNITED STATES DISTRICT COURT
  11
                CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
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  13
       MARLENE Y. BAILEY,                              CASE NO. 5:14-cv-1586-JGB-KKx
  14
                        Plaintiff,                     Hon. Jesus G. Bernal
  15
              vs.                                      DECLARATION OF JOSEPH R.
  16                                                   MANNING, JR. IN SUPPORT OF
     SPECIALIZED LOAN SERVICING,                       PLAINTIFF’S MOTION FOR
  17 LLC; NBS DEFAULT SERVICES,                        LEAVE TO FILE SUPPLEMENTAL
     LLC; THE BANK OF NEW YORK                         COMPLAINT
  18 MELLON FKA THE BANK OF NEW
     YORK, AS TRUSTEE FOR THE                          Complaint Filed: July 7, 2014
  19 CERTIFICATEHOLDERS OF THE                         Trial Date:      March 15, 2016
     CWALT, INC., ALTERNATIVE
  20 LOAN TRUST 2006-OA10; and DOES                    (Removed from Superior Court of
     1 through 50, inclusive,                          California, County of Riverside, Case
  21                                                   No. PSC1403597)
                 Defendants.
  22
  23
              I, Joseph R. Manning, Jr., declare:
  24
              1.        I am an attorney licensed to practice law in the State of California and I
  25
       am the principal attorney at the Law Offices of Joseph R. Manning, Jr., A
  26
       Professional Corporation, counsel of record for Plaintiff Marlene Y. Bailey
  27
       (“Plaintiff”).
  28                                         1        CASE NO. 5:14-CV-01586-JGB-KKx
         DECLARATION OF JOSEPH R. MANNING, JR. IN SUPPORT OF PLAINTIFF’S MOTION FOR
                         LEAVE TO FILE SUPPLEMENTAL COMPLAINT
Case 5:14-cv-01586-JGB-KK Document 36-1 Filed 12/07/15 Page 2 of 2 Page ID #:819




   1        2.    Attached hereto as Exhibit “A” is a true and correct copy of Plaintiff’s
   2 Proposed Supplemental Complaint.
   3        3.    Attached hereto as Exhibit “B” is a true and correct copy of Defendants
   4 Specialized Loan Servicing LLC and the Bank of New York Mellon as Trustee for
   5 the Certificateholders of the CWALT, Inc., Alternative Loan Trust 2006-OA10’s
   6 Motion to Quash Plaintiff’s Complaint, filed on or about October 29, 2015 in
   7 Riverside County Superior Court, Case No. PSC1504566.
   8
   9        I declare under penalty of perjury under the laws of the United States and the
  10 State of California that the foregoing is true and correct. Executed on December 7,
  11 2015, at Newport Beach, California.
  12
  13
  14                                                /s/ Joseph R. Manning, Jr.
                                                    Joseph R. Manning, Jr.
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  28                                        2        CASE NO. 5:14-CV-01586-JGB-KKx
        DECLARATION OF JOSEPH R. MANNING, JR. IN SUPPORT OF PLAINTIFF’S MOTION FOR
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